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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
                                           )
BELL SUPPLY CO., LLC,                      )
                                          )
                  Plaintiff,               )
                                           )
            v.                             )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               ) Court No. 14-00066
                                           )
            and                            )
                                           )
BOOMERANG TUBE LLC, TMK IPSCO             )
TUBULARS, V&M STAR L.P., WHEATLAND )
TUBE CO., MAVERICK TUBE CORP.,            )
and UNITED STATES STEEL CORP.,            )
                                          )
                  Defendant-Intervenors.  )
                                           )

          DEFENDANT’S CONSENT MOTION TO CORRECT THE RECORD

       Defendant, the United States, respectfully requests that the Court grant the Department of

Commerce (Commerce) leave to correct the administrative record of this proceeding. All parties

have consented to this motion.

       On February 11, 2016, the Court sent to counsel for the parties a letter asking the parties

to provide the Court with excerpts of the April 8, 2009 petition that were relied on during the

administrative proceeding. During the administrative proceeding, Commerce and the parties

relied upon certain excerpts of the petition. Although these excerpts were part of the record of

the proceeding, they were inadvertently not included in the physical administrative record.

Specifically, the record should be corrected to include the section of the petition relied on during

the proceeding – the cover page, and pages 5-12 of the petition.
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       For these reasons, we respectfully request that the Court grant this consent motion to

correct the administrative record.

                                             Respectfully submitted,

                                             BENJAMIN C. MIZER
                                             Principal Deputy Assistant Attorney General

                                             JEANNE E. DAVIDSON
                                             Director

                                             /s Claudia Burke
                                             CLAUDIA BURKE
                                             Assistant Director

                                             /s L. Misha Preheim
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February 24, 2016                            Attorneys for Defendant
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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
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                                           )
BELL SUPPLY CO., LLC,                      )
                                          )
                  Plaintiff,               )
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            v.                             )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               ) Court No. 14-00066
                                           )
            and                            )
                                           )
BOOMERANG TUBE LLC, TMK IPSCO             )
TUBULARS, V&M STAR L.P., WHEATLAND )
TUBE CO., MAVERICK TUBE CORP.,            )
and UNITED STATES STEEL CORP.,            )
                                          )
                  Defendant-Intervenors.  )
                                           )

                                            ORDER

       Upon consideration of defendant’s consent motion to correct the record, it is hereby

       ORDERED that the defendant’s consent motion is granted, and it is further

       ORDERED that the record of this proceeding shall be corrected to include the cover page

and pages 5-12 of the April 8, 2009 petition.



Dated: ________________________
         New York, New York                                             Judge
